Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 1 of 26




                            EXHIBIT A

                         Stamer Declaration
         Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 2 of 26




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                           §
    In re:                                                 §       Chapter 11
                                                           §
    GWG Holdings, Inc., et al.,1                           §       Case No. 22-90032 (MI)
                                                           §
              Debtors.                                     §       (Jointly Administered)
                                                           §

                   DECLARATION OF MICHAEL STAMER IN SUPPORT OF THE
                      APPLICATION OF THE OFFICIAL COMMITTEE OF
                  BONDHOLDERS OF GWG HOLDINGS, INC., ET AL. TO RETAIN
                    AND EMPLOY AKIN GUMP STRAUSS HAUER & FELD LLP
                       AS CO-COUNSEL, EFFECTIVE AS OF MAY 10, 2022

             Under 28 U.S.C. § 1746, I, Michael Stamer, declare as follows under the penalty of perjury:

             1.     I am an attorney admitted to practice in the State of New York and have been

admitted pro hac vice to the United States Bankruptcy Court for the Southern District of Texas,

Houston Division, for the purposes of these Chapter 11 Cases.

             2.     I am a partner of the firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”).

Akin Gump maintains offices at, among other places, One Bryant Park, New York, New York

10036 and 1111 Louisiana Street, Houston, Texas 77002. There are no disciplinary proceedings

pending against me.

             3.     I am familiar with the matters set forth herein and make this declaration

(the “Declaration”) in support of the application (the “Application”)2 of the Official Committee of


1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
     location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
     St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
     cases is available at the website of the Debtors’ claims and noticing agent: https://donlinrecano.com/gwg.
2    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
      Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 3 of 26




Bondholders (the “Committee”) of GWG Holdings, Inc., et al. (collectively, the “Debtors”)

seeking approval to retain and employ Akin Gump as co-counsel to the Committee.

        4.       On May 9, 2022 (the “Formation Date”), the United States Trustee for the Southern

District of Texas (the “U.S. Trustee”) appointed the Committee pursuant to Bankruptcy Code

section 1102 [Docket No. 214].3 On May 10, 2022, the Committee selected Akin Gump to serve

as co-counsel to the Committee, subject to Court approval. In addition, the Committee selected,

subject to Court approval, (a) on May 10, 2022, Porter Hedges LLP (“Porter Hedges”) to serve as

its co-counsel; (b) on May 11, 2022, Piper Sandler & Co. to serve as its investment banker and (c)

on May 13, 2022, AlixPartners, LLP to serve as its financial advisor.4 Akin Gump will work

closely with the Committee and the Committee’s other professionals to avoid unnecessary

duplication of effort and to represent the Committee in an efficient and cost-effective manner.

        5.       I am not, nor is Akin Gump, an insider of the Debtors. Except as set forth below,

neither Akin Gump nor I hold directly any claim, debt or equity security of the Debtors.

        6.       To the best of my knowledge and information, no partner or employee of Akin

Gump has been, within two years from the Petition Date, a director, officer or employee of the

Debtors as specified in Bankruptcy Code section 101(14)(B).

        7.       Akin Gump does not have an interest materially adverse to the interests of the

Debtors’ estates or of any class of creditors or equity security holders of the Debtors, by reason of

any direct or indirect relationship to, connection with, or interest in, the Debtors, as specified in

Bankruptcy Code section 101(14)(C), or for any other reason.


3   The Committee is currently comprised of the following entities and/or individuals: (i) The Bank of Utah, as
    indenture trustee; (ii) Thomas Horton; (iii) Nilos T. Sakellariou; (iv) Donald W. Rhodes; (v) Matthew Pearce;
    (vi) Ali Danesh; and (vii) Frank S. Moore.
4   The Committee will be filing separate applications seeking to employ these professionals contemporaneously
    herewith or shortly hereafter.



                                                       2
       Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 4 of 26




        8.       Akin Gump does not currently represent the Debtors or, except as set forth herein,

to the best of my knowledge and information, any of their related parties, affiliates, partners or

subsidiaries. Moreover, Akin Gump will not undertake the representation of any party other than

the Committee in connection with the Chapter 11 Cases.

        9.       To the best of my knowledge and information, Akin Gump neither holds nor

represents any interest adverse to the Committee, the Debtors, their creditors or other parties in

interest or their respective attorneys in the Chapter 11 Cases. Based upon information available

to me, I believe that Akin Gump is a “disinterested person” within the meaning of Bankruptcy

Code section 101(14).

        10.      In preparing this Declaration, through my colleagues, I submitted to Akin Gump’s

computerized client and conflict database (the “Conflict Database”) the names set forth on a list

of parties in interest identified by the Debtors, as well as the names of certain additional parties

identified by Akin Gump, which are categorized for ease of reference. A copy of the list of the

parties searched by Akin Gump is annexed hereto as Schedule 1 (collectively, the “Searched

Parties”).5

        11.      The Conflict Database maintained by Akin Gump is designed to include every

matter on which the firm is now and has been engaged, by which entity the firm is now or has been

engaged and, in each instance, the identity of certain related parties and adverse parties and certain

of the attorneys in the firm that are knowledgeable about the matter. It is the policy of Akin Gump



5   Akin Gump’s inclusion of parties in Schedule 1 (and the categorization thereof), which is based on information
    provided by the Debtors, is solely to illustrate Akin Gump’s conflict search process and is not an admission that
    any party has a valid claim against the Debtors or that any party properly belongs on Schedule 1 or has a claim or
    legal relationship to the Debtors of the nature described in any of the schedules. In some instances, Schedule 1
    does not disclose the full legal name of the relevant entity. When the names of the entities reviewed were
    incomplete or ambiguous, the scope of the search was intentionally broad and inclusive, and Akin Gump reviewed
    each entity in its Conflicts Database to the extent feasible.



                                                         3
       Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 5 of 26




that no new matter may be accepted or opened within the firm without completing and submitting

to those charged with maintaining the Conflict Database the information necessary to check each

such matter for conflicts, including the identity of the prospective client, the matter and related and

adverse parties. Accordingly, Akin Gump maintains and systematically updates this system in the

regular course of business of the firm, and it is the regular practice of the firm to make and maintain

these records.

                              REPRESENTATION OF PARTIES IN INTEREST

        12.       Set forth on Schedule 2 annexed hereto is a listing of the Searched Parties from

Schedule 1 that Akin Gump either (a) currently represents (or represents a related party thereto)

(the “Current Clients”) in matters wholly unrelated to these Chapter 11 Cases or (b) has, in the

past three calendar years, represented (or represented a related party thereto) in matters wholly

unrelated to these Chapter 11 Cases (the “Former Clients”).6 In connection with the services to be

rendered to the Committee, Akin Gump will not commence a cause of action against any Current

Client with respect to the Chapter 11 Cases unless Akin Gump has received a waiver from the

Current Client allowing Akin Gump to commence such an action. In connection with the Chapter

11 Cases, to the extent any causes of action are commenced by or against any Current Client, and

a waiver is not obtained permitting Akin Gump to participate in such action, the Committee either


6   For purposes of the disclosures set forth herein, Akin Gump has searched for connections with clients with whom
    time has been posted in the last three calendar years. “Current Clients” are those clients (or related parties thereof)
    in which the Conflicts Database shows that one or more timekeepers have posted time to such client matters in
    the last 12 months and are not listed in the Conflicts Database as “closed” matters. “Former Clients” are those
    clients in which the Conflict Database shows that Akin Gump has previously represented such clients (or related
    parties thereof) within the last three calendar years and (i) no time has been posted to such client matters in the
    last 12 months or (ii) such client matters are otherwise listed as “closed” within the Conflicts Database. To the
    extent that a client (or related party thereof) is both a Current Client and a Former Client on separate matters, such
    client is listed only once on Schedule 2 as a Current Client. Notwithstanding the foregoing, whether an actual
    client relationship exists can only be determined by reference to the documents governing Akin Gump’s
    representation rather than its potential listing in the Conflicts Database. As such, for purposes of the disclosures
    set forth herein, some of the disclosures set forth herein and on Schedule 2 may be over-inclusive.



                                                            4
       Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 6 of 26




will use Porter Hedges or, if necessary, retain conflicts counsel to represent the Committee in

connection therewith.

                                        SPECIFIC DISCLOSURES

A.       Akin Gump’s Prior Representation of the Indenture Trustee

         13.      Prior to the Petition Date, Akin Gump rendered professional services to Bank of

Utah (the “Bank of Utah” or the “Indenture Trustee”), as indenture trustee under the Indenture,7

as requested, necessary and appropriate, including providing advice regarding, among other things,

the enforcement and protection of the rights and remedies of the Indenture Trustee with respect to

all matters relating to any prospective or actual defaults under the Indenture (the “Prior Indenture

Trustee Engagement”). Akin Gump continued to represent the Indenture Trustee in connection

with the Chapter 11 Cases after the Petition Date up until the date the Committee was appointed

(such period, the “Pre-Committee Period”).

         14.      The Indenture Trustee and Akin Gump agreed that, as of the formation of the

Committee, the Indenture Trustee would release Akin Gump from service as counsel to the

Indenture Trustee so as to permit Akin Gump to serve as counsel to the Committee. On May 13,

2022, Akin Gump filed a Notice of Substitution of Counsel of Bank of Utah, as Trustee, and

Amended Request for All Notices, and Demand for Service of Papers [Docket No. 234] noting,

among other things, that Bank of Utah had consented to Akin Gump’s withdrawal as its attorneys

of record.

         15.      With respect to any fees and expenses incurred by Akin Gump during the Pre-

Committee Period in connection with Akin Gump’s representation of the Indenture Trustee, Akin



7    Capitalized terms used but not otherwise defined herein shall have the meaning give to them in the Declaration
     of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in Support of the Debtors’ Chapter 11 Petitions
     and First Day Motions [Docket No. 17].



                                                          5
       Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 7 of 26




Gump reserves the right to receive payment on account of such fees and expenses to the extent

provided for by the terms of the Indenture, including from any cash reserve established for the

benefit of the Indenture Trustee and/or any charging lien that may be available to the Indenture

Trustee under the Indenture, in each case to the extent permitted by the Bankruptcy Code.8

B.       Connections with Parties Representing 1% or More of Akin Gump’s Revenues for
         2021

         16.      At the inception of each engagement for which a declaration is required pursuant

to Bankruptcy Rule 2014, Akin Gump reviews the information relating to the parties involved in

a bankruptcy case to determine whether any such party, together with its known related entities,

was a client of Akin Gump and, as a result, made payments to Akin Gump for services rendered

in the calendar year prior to the date of review that in the aggregate for each such party exceeds

1% of Akin Gump’s total revenues for such calendar year. With the exception of the party

described below, Akin Gump’s revenues for services rendered on behalf of each of the parties in

interest identified in Schedule 1 make up, in the aggregate, with respect to each such party in

interest, less than 1% of Akin Gump’s annual revenue in calendar year 2021.

         17.      Akin Gump currently represents an ad hoc committee of noteholders formed in

connection with the chapter 11 cases of Nordic Aviation Capital Designated Activity Company, et

al. (the “NAC Group”). One or more members of the NAC Group and/or their affiliates are parties

in interest in these Chapter 11 Cases. Akin Gump represents the NAC Group in matters unrelated

to these Chapter 11 Cases. The total fees received from the NAC Group represented more than

1% of Akin Gump’s 2021 revenue.9



8    As of the Formation Date, Akin Gump had incurred approximately $650,000 in unpaid fees in connection with
     its prior representation of the Indenture Trustee.
9    Specific percentages will be disclosed to the U.S. Trustee and/or counsel to the Debtors, upon request.


                                                          6
      Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 8 of 26




C.     Connections with the Debtors

       18.     As disclosed on Schedule 2, Akin Gump has not represented and will not represent

the Debtors in connection with the Chapter 11 Cases.

       19.     Akin Gump previously has represented parties potentially adverse to the Debtors

and/or the Debtors’ affiliates in matters unrelated to the Chapter 11 Cases.

       20.     Murray L. Holland, the Chief Executive Officer of the Debtors and a current

director of the Debtors, is a former partner in Akin Gump’s Dallas office. Mr. Holland joined the

firm as an associate in October 1980 and left the firm in January 1987.

D.     Connections with Debtors’ Current and Former Directors and Officers

       21.     Akin Gump does not currently represent, and, except as set forth below, has not

formerly represented, any of the Debtors’ current and former directors and officers in their

individual capacity. However, given the broad range of Akin Gump’s client representations, it is

possible that one or more directors or officers identified on Schedule 1 serves or has served as a

director or on the board of directors (or board of managers) of an entity that Akin Gump currently

represents or has formerly represented.

       22.     Richard W. Fisher is a current director of The Beneficient Company Group,

L.P. (“Ben”) and a former director of GWG Holdings, Inc. (“GWG”) having served on the GWG

board of directors from April 26, 2019 through October 15, 2019. In connection with the closing

of the Master Exchange Agreement dated January 12, 2018 by and among GWG, Ben and various

other parties, several Ben board members including Mr. Fisher were designated by Ben to serve

on the GWG board. In anticipation of such appointment, Mr. Fisher retained Akin Gump in his

personal capacity to provide him with general legal advice regarding fiduciary duties owed by a

director of a publicly owned Delaware corporation including advice as to potential future fiduciary

duties and conflicts that might arise in the event of a proposed related party transaction (including

                                                 7
      Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 9 of 26




potential governance issues), as well as limited review of Ben governance documents relating to

potential amendments regarding potential fiduciary duty, release and indemnification issues (the

“Prior Representation”).    This matter is closed and Akin Gump no longer represents Mr.

Fisher. Moreover, out of an abundance of caution, Akin Gump has instituted a formal screen for

all timekeepers who worked on the Prior Representation. Further, Akin Gump will not represent

Mr. Fisher in matters related to the Debtors or the Chapter 11 Cases during the pendency of these

Chapter 11 Cases. Given the limited scope of the Prior Representation, Akin Gump does not

presently expect that any matters directly related to the Prior Representation will arise in these

Chapter 11 Cases. To the extent the Committee requires counsel with respect to matters directly

related to the Prior Representation, the Committee will rely on Porter Hedges to represent the

Committee in connection therewith.

E.     Connections with the Banks, Lenders, UCC Lien Parties, Administrative Agents

       23.     As disclosed on Schedule 2, Akin Gump currently represents and/or previously has

represented certain of the Debtors’ banks, lenders, UCC lien parties, administrative agents and/or

affiliates thereof on matters unrelated to the Chapter 11 Cases. Akin Gump has not represented

and will not represent these parties in connection with the Chapter 11 Cases.

F.     Searched Parties That Currently Serve or Have Served on Informal and/or Official
       Creditors’ Committees Represented by Akin Gump

       24.     As part of its diverse restructuring practice, Akin Gump routinely represents

informal and official creditors’ committees. In that regard, set forth on Schedule 3 attached hereto

is a listing of those Searched Parties from Schedule 1 that currently serve or have served, within

the last three calendar years, on informal or official creditors’ committees represented by Akin

Gump. Akin Gump has not represented and will not represent these parties in connection with the

Chapter 11 Cases (except to the extent any such Searched Parties are members of the Committee



                                                 8
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 10 of 26




and, in such circumstance, Akin Gump will be representing the Committee and not any individual

Committee member in its individual capacity).

G.       Other Connections and General Disclosures

         25.   Akin Gump performed general diligence to determine any connections beyond

what is disclosed in the attached schedules. Akin Gump may have represented in the past and/or

may currently represent or in the future represent entities (other than parties in the attached

schedules) not currently known to Akin Gump in matters unrelated to the Chapter 11 Cases who

may be parties in interest in these Chapter 11 Cases. In addition, Akin Gump regularly represents

informal groups of creditors of companies that are facing financial distress, which financial distress

may not have been publicly disclosed. Some of these companies may be or become parties in

interest in these Chapter 11 Cases. Akin Gump will only represent such informal groups in matters

wholly unrelated to these Chapter 11 Cases.

         26.   To the extent that Akin Gump discovers any such information or needs to update

the information disclosed herein, Akin Gump will disclose such information by filing a

supplemental declaration pursuant to Bankruptcy Rule 2014.

         27.   In addition, to the best of my knowledge, I do not believe there is any connection

between Akin Gump and the U.S. Trustee, any person employed with the U.S. Trustee or any

bankruptcy judge currently serving on the United States Bankruptcy Court for the Southern District

of Texas.

         28.   None of Akin Gump’s representations of creditors or other parties in interest who

are involved in these Chapter 11 Cases comprise a material component of Akin Gump’s practice,

nor does Akin Gump currently represent such parties on any issue relating to these Chapter 11

Cases.    For the reasons stated herein, Akin Gump represents no interests adverse to the

Bondholders or the Committee and, therefore, is capable of fulfilling its duties to the Committee.

                                                  9
      Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 11 of 26




                                              COMPENSATION

         29.      Akin Gump will make appropriate applications to this Court pursuant to

Bankruptcy Code sections 330 and 331 for compensation and reimbursement of out-of-pocket

expenses, all in accordance with the provisions of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, the Interim Compensation Order and any other applicable order of the Court.

Akin Gump will bill at its standard hourly rates. The 2022 hourly rates in effect at the time that

Akin Gump was selected by the Committee and are applicable to these Chapter 11 Cases (the

“Rates”) for professionals and paraprofessionals employed in its domestic offices are provided

below:

         Billing Category                                              2022 Range
             Partners                                                $1,125 – $1,995
          Senior Counsel                                              $845 – $1,655
             Counsel                                                  $990 – $1,225
            Associates                                                $605 – $1,045
         Paraprofessionals                                             $215 – $475

These Rates are subject to periodic adjustment (typically in January of each year) to reflect

economic and other conditions.10

         30.       The Rates set forth herein are and will be Akin Gump’s standard hourly rates for

work of this nature. These Rates are set at a level designed to compensate Akin Gump fairly for

the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Akin

Gump operates in a complicated, national marketplace for legal services in which rates are driven



10 For example, like many of its peer law firms, Akin Gump typically increases the hourly billing rate of attorneys
   and paraprofessionals periodically in the form of: (i) step increases historically awarded in the ordinary course
   on the basis of advancing in seniority and promotion and (ii) periodic increases within each attorney’s and
   paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
   used in the Revised UST Guidelines). While the rate ranges provided for herein may change if an individual
   leaves or joins Akin Gump, and if any such individual’s billing rate falls outside the ranges disclosed above, Akin
   Gump does not intend to update the ranges for such circumstances.


                                                         10
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 12 of 26




by multiple factors relating to the individual lawyer, the lawyer’s area of specialization, the firm’s

expertise, performance and reputation, the nature of the work involved and other factors. Akin

Gump’s hourly rates vary with the experience and seniority of the individuals assigned. Akin

Gump’s hourly rates, including those adjustments as set forth herein, are consistent with (i) market

rates for comparable services and (ii) the rates that Akin Gump charges and will charge other

comparable chapter 11 clients, regardless of the location of the chapter 11 case.

       31.     It is Akin Gump’s policy to charge its clients in all areas of practice for out of

pocket expenses incurred in connection with the client’s case. The expenses charged to clients

include, among other things, photocopying charges, travel expenses, expenses for “working meals”

and computerized research. Akin Gump will seek reimbursement for such expenses pursuant to,

among other things, any applicable guidelines established by the Office of the U.S. Trustee.

       32.     No agreement exists, nor will any be made, to share any compensation received by

Akin Gump for its services with any other person or firm other than members of Akin Gump.

       33.     For the reasons stated herein, Akin Gump represents no interest adverse to the

Debtors, the Bondholders or the Committee and, therefore, is capable of fulfilling its duties to the

Committee and the Bondholders that the Committee represents.

       34.     The foregoing constitutes the statement of Akin Gump pursuant to Bankruptcy

Code sections 329, 504 and 1103(a), Bankruptcy Rules 2014(a) and 2016(b) and Local Rules

2014-1 and 2016-1.

                STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

       35.     The Committee and Akin Gump intend to make a reasonable effort to comply with

the U.S. Trustee’s requests for information and additional disclosures as set forth in the Revised

UST Guidelines, both in connection with the Application and the interim and final fee applications



                                                 11
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 13 of 26




to be filed by Akin Gump in the course of its engagement. In doing so, however, the Committee

and Akin Gump reserve all rights as to the relevance and substantive legal effect of the Revised

UST Guidelines in respect of any application for employment or compensation in these Chapter

11 Cases that falls within the ambit of the Revised UST Guidelines.

       36.     The following is provided in response to the request for additional information set

forth in Section D.1 of the Revised UST Guidelines.

         (a)    Akin Gump did not agree to any variations from, or alternatives to, its standard
                or customary billing arrangements for this engagement. The hourly rates set forth
                in the Application and in this Declaration are consistent with (i) market rates for
                comparable services and (ii) the rates that Akin Gump charges and will charge
                other comparable chapter 11 clients, regardless of the location of the chapter 11
                case;

         (b)    No rate for any of the professionals included in this engagement varies based on
                the geographic location of the Chapter 11 Cases;

         (c)    Except with respect to the Prior Indenture Trustee Engagement and as set forth in
                the Application and this Declaration, Akin Gump did not represent any member
                of the Committee in connection with the Chapter 11 Cases prior to its retention
                by the Committee;

         (d)    Akin Gump expects to develop a prospective budget and staffing plan to
                reasonably comply with the U.S. Trustee’s request for information and additional
                disclosures, as to which Akin Gump reserves all rights.

         (e)    The Committee has approved Akin Gump’s proposed hourly billing rates.

       I declare under penalty of perjury that the foregoing is true and correct on this 8th day of
June, 2022.
                                                      /s/ Michael Stamer
                                                     Michael Stamer




                                                12
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 14 of 26




                                        Schedule 1

                              Schedule of Searched Parties

The Official Committee of Bondholders

Ali Danesh                                      Matthew Pearce
Bank of Utah                                    Nilos T. Sakellariou
Donald W. Rhodes                                Thomas Horton
Frank S. Moore

Professionals of the Official Committee of Bondholders

AlixPartners LLP                                Porter Hedges LLP
Piper Sandler & Co.

Debtors

GWG Holdings, Inc. (a/k/a GWG Holdings,         GWG Life USA, LLC (f/k/a GWG Life of
  LLC)                                            Indiana, LLC)
GWG Life, LLC (a/k/a Great West Growth,
  LLC and GWG Life Settlements, LLC)

Non-Debtor Affiliates & Subsidiaries

GWG DLP Funding IV, LLC                         GWG Foundation
GWG DLP Funding V, LLC                          GWG Life Trust
GWG DLP Funding V Holdings, LLC                 GWG MCA Capital, Inc.
GWG DLP Funding Holdings VI, LLC
GWG DLP Funding VI, LLC

Debtors’ Bankruptcy Professionals

Donlin, Recano & Company, Inc.                  Mayer Brown LLP
FTI Consulting Inc.                             PJT Partners LP
Jackson Walker LLP                              Willkie Farr & Gallagher LLP

Banks, Lenders, UCC Lien Parties, Administrative Agents

Bank of New York Mellon                         KKR Credit Advisors (US) LLC
Bank of Utah                                    KKR Loan Administration Services LLC
Beal Bank                                       LNV Corporation
Bell State Bank/Bell Bank                       National Founders L.P.
CLMG Corp.                                      Wells Fargo Bank, N.A.
KKR & Co. Inc. (f/k/a Kohlberg Kravis
  Roberts & Co.)
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 15 of 26




Current Directors

David F. Chavenson                         Peter T. Cangany, Jr.
David H. de Weese                          Timothy L. Evans
Murray T. Holland

Current Officers

Murray T. Holland
Timothy L. Evans

Former Directors

Brad K. Heppner                            Kathleen J. Mason
Bruce E. Zimmerman                         Mark E. Schwarzmann
Bruce W. Schnitzer                         Michelle Caruso-Cabrera
Charles H. Maguire III                     Richard W. Fisher
Daniel Fine                                Roger T. Staubach
David H. Abramson                          Roy W. Bailey
David H. Glaser                            Shawn Gensch
David S. Gruber                            Sheldon I. Stein
Dennis P. Lockhart                         Steven F. Sabes
Jeffrey L. McGregor                        Thomas J. Donohue, Jr.
Jeffrey N. MacDowell                       Thomas O. Hicks

Former Officers

Brian Bailey                               Merriah Harkins
Craig Opp                                  Michael Freedman
Gregg Johnson                              Steven F. Sabes
Jon R. Sabes                               William B. Asheson
Lennie Nicholson

Equity Holders (more than 5% equity)

Beneficient Capital Company, L.L.C.        The LT-14 Exchange Trust
The LT-1 Exchange Trust                    The LT-15 Exchange Trust
The LT-2 Exchange Trust                    The LT-16 Exchange Trust
The LT-3 Exchange Trust                    The LT-17 Exchange Trust
The LT-4 Exchange Trust                    The LT-18 Exchange Trust
The LT-5 Exchange Trust                    The LT-19 Exchange Trust
The LT-6 Exchange Trust                    The LT-20 Exchange Trust
The LT-7 Exchange Trust                    LT-21A Custody Trust
The LT-8 Exchange Trust                    LT-22A Custody Trust
The LT-9 Exchange Trust                    LT-23A Custody Trust
The LT-12 Exchange Trust                   LT-24A Custody Trust

                                       2
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 16 of 26




LT-25A Custody Trust                          The LT-23 Liquid Trust
LT 26-A Custody Trust                         The LT-24 Liquid Trust
The LT-21 Liquid Trust                        The LT-25 Liquid Trust
The LT-22 Liquid Trust                        The LT-26 Liquid Trust

Landlords

Four Point Star Operating Company, L.P.       U.S. Bank National Association
Heritage Highland Finance & Management
  Services, L.P.

Litigation Counterparties

Anthony Mannino,                              Mojan Kamalvand
Frank Moore                                   Moshen Rokni
H. Russell Heiser                             Nulook Capital, LLC,
Heiser Enterprises, LLC                       PHL Variable Insurance Company
Joel Nazareno,                                Shirin Bayati
John Guzzetti,                                Thomas Horton

30 Largest Unsecured Creditors

Aon Insurance Managers (Bermuda) Ltd.         National Securities Clearing Corporation
Appleby (Bermuda) Limited                     New Tangram, LLC
Atomic Data LLC                               Presswrite Printing, Inc.
Baker Tilly Virchow Krause, LLP               PricewaterhouseCoopers LLP
Broadridge Investor Communication             Quinn Emanuel Urquhart & Sullivan, LLP
   Solutions, Inc.                            Richards, Layton & Finger, P.A.
Computershare Inc.                            Securities Transfer Corporation
Cubik Promotions Inc.                         The Beneficient Company Group (USA),
Emerson Equity LLC                               LLC
Financial Advisors LLC                        Toppan Merrill
Haynes and Boone, LLP                         US Bank Corporate Real Estate
Intrado Digital Media, LLC                    Vedder Price PC
K&L Gates LLP                                 White Oak Security, Inc.
KLDiscovery Ontrack, LLC                      Whitley Penn LLP
Locke Lord LLP                                Willkie Farr & Gallagher LLP
Maslon LLP
Murphy & McGonigle, P.C.

Insurance Providers and Brokers

ACE American Insurance Company                Argonaut Insurance Company
Allianz Global Risks US Insurance Co.         Ascot Insurance Company
Allied World National Assurance Company       Associated Industries Ins. Co., Inc.
Allied World Specialty Insurance Co.          Atlantic Specialty Insurance Company

                                          3
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 17 of 26




Beazley Insurance Company, Inc.                  Markel American Insurance Company
Berkley Insurance Company                        National Union Fire Ins Pittsburgh, PA
Berkshire Hathaway Specialty Ins. Co.            Old Republic Insurance Company
Certain Underwriters at Lloyds                   QBE Insurance Corporation
Continental Casualty Company                     RSUI Indemnity Company
Crum & Forster Specialty Insurance Co.           Stratford Insurance Company
Emerson Equity LLC                               Twin City Fire Insurance Company
Endurance American Insurance Co.                 US Specialty Insurance Company
Endurance Risk Solutions Assurance Co            USI Southwest Dallas
Freedom Specialty Insurance Company              Westchester Fire Insurance Company
Great American Insurance Company                 XL Specialty Insurance Company
Indian Harbor Insurance Company
Lloyd's Syndicate 2623 (Beazley Furlong)

Professional Service Providers to the Debtors

Aon Insurance Managers (Bermuda) Ltd.            Maslon LLP
Appleby (Bermuda) Limited                        Murphy & McGonigle, P.C.
Baker Tilly Virchow Krause, LLP                  Paradigm Partners International, LLC
Edgar Agents, LLC                                PricewaterhouseCoopers LLP
Edward Stone Law P.C.                            Quinn Emanuel Urquhart & Sullivan, LLP
Ernst & Young US LLP                             Registered Agent Solutions, Inc.
Financial Advisors LLC                           Richards, Layton & Finger, P.A.
Grant Thornton LLP                               Robert Half
Haynes and Boone, LLP                            Schulte Roth & Zabel LLP
Houlihan Lokey Financial Advisors, Inc.          Stinson, Leonard, Street
K&L Gates LLP                                    Whitley Penn LLP
KL Discovery Ontrack, LLC                        Workiva Inc.
Kunzman & Bollinger, Inc.

Additional Vendors and Contract Counterparties

21st Services, LLC                               Canon Financial Services, Inc.
ADP, Inc.                                        Canterbury Consulting, LLC
Advanced Copier Technology, Inc.                 Capture Components LLC
American Express                                 Center Street Insurance
American Viatical Services, LLC                  Claremont Hudson, LLC
Andrew James Beal                                ClearLife Limited
AppExtremes, LLC d/b/a Conga                     Cloudreach Inc.
Appleby (Bermuda) Limited                        Comcast Cable Communications
Appleby Global Services                             Management, LLC
AT&T Mobility                                    Computershare Governance Services Inc.
AVS Underwriting, LLC                            Computershare Trust Company, NA
BKM Total Office of Texas, L.P.                  Concur Technologies, Inc.
Box, Inc.                                        Copado Inc.
Briarwood Consulting Services LLC

                                            4
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 18 of 26




Corporate Stock Transfer, Inc. (now part of       Moloney Securities Co., Inc.
   Equitini)                                      MuleSoft, LLC
CT Department of Revenue Services                 NASDAQ Stock Market LLC
CUSIP Global Services                             Natterbox Limited
Daniel Callahan                                   Nova Communications
Diligent Corporation                              Ohio Bureau of Workers' Compensation
DocuSign, Inc.                                    OwnBackup, Inc.
DST Systems, Inc.                                 Parks Coffee
Edward Stone Law P.C.                             Pay Governance LLC
Elite Sales Processing, Inc.                      Predictive Resources, LLC
Emerson Equity LLC                                Presswrite Printing, Inc.
Equiniti Trust Company                            Quadient Leasing USA, Inc.
Fasano Associates                                 Registered Agent Solutions, Inc.
Foundation Technologies, LLC                      Republic Center Parking Management
Greenwood Office Outfitters                       RevCult, Inc.
Hall Lane Moving & Storage                        Robert Half
ILS Advisory Services, LLC                        Salesforce.com Inc.
Ice Systems, Inc.                                 Say Technologies LLC
Institutional Life Services, Inc.                 Select Commercial Services
Kingswood US, LLC                                 Shred-it USA
Kunzman & Bollinger, Inc.                         Smartsheet Inc.
Laser App Software, Inc.                          Standard Parking
Lidke Business Consulting LLC                     Stinson, Leonard, Street
Life Insurance Settlement Association             SullivanPerkins, Inc.
Lion Street Financial, LLC                        Thomson Reuters - West
LogMeIn USA, Inc                                  Time Warner Cable
Lord Securities Corporation                       United Parcel Service Inc.
Malwarebytes                                      U.S. Bank Equipment Finance (a division of
Mediant Communications Inc.                          U.S. Bank National Association)
Merriah Harkins                                   Voyant Communications
Meridian Wealth Management, LLC                   Zenkraft Inc.
MLF LexServ, L.P.                                 ZixCorp Systems, Inc.
Modus Engagement, Inc.

Taxing and Regulatory Authorities

Alabama Department of Revenue                     New York State Corporation Tax
California Franchise Tax Board                    Public Company Accounting Oversight
Connecticut Department of Revenue                    Board (PCAOB)
   Services                                       Securities & Exchange Commission
Financial Industry Regulatory Authority           South Carolina Department of Revenue
   (FINRA)                                        State of Delaware - Division of Corporations
Massachusetts Department of Revenue               State of New Jersey
Minnesota Department of Revenue                   Tennessee Department of Revenue
Nasdaq, Inc.                                      Texas Comptroller of Public Accounts
New Jersey Division of Taxation

                                              5
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 19 of 26




United States, Government of the,                 United States, Government of the, Securities
  Department of the Treasury, Internal              and Exchange Commission
  Revenue Service                                 Utah State Tax Commission

Bankruptcy Judges for the Southern District of Texas

Christopher M. Lopez                              Jeffrey P. Norman
David R. Jones (Chief Bankruptcy Judge)           Marvin Isgur
Eduardo V. Rodriguez

Office of the United States Trustee for the Southern District of Texas

Alicia Barcomb                                    Hector Duran
Brian Henault                                     Jana Whitworth
Christopher R. Travis                             Jayson B. Ruff
Christy Simmons                                   Omar E. Jones
Clarissa Waxton                                   Stephen Statham
Glenn Otto                                        Yasmine Rivera
Ha Nguyen

Counsel to Certain Parties in Interest

Burns Charest LLP                                 Porter & Hedges LLP
Girard Sharp LLP                                  Ross Aronstam & Moritz LLP
Holland & Knight                                  Sidley Austin LLP
Kirkland & Ellis LLP                              Silver Law Group
Law Offices of Mark B. Plummer, P.C.              White & Case LLP
Malmfeldt Law Group P.C.

Other Potential Parties in Interest

ACE Portal LLC                                    Beneficient Transfer and Clearing Company,
Albert J. Fioravanti                                 LLC
Altiverse Capital Markets                         Ben Markets Corporate Holdings LLC
Beneficient Administration and Clearing           Ben Markets Holdings, LP
   Company, LLC                                   Constitution Private Capital Company, LLC
Beneficient Capital Company, LLC                  Delaware Trust Company
Beneficient Capital Company II, LLC               FOXO Labs Inc. (f/k/a Life Epigenetics
Beneficient Capital Company Holdings, LP             Inc.)
Beneficient Capital Holdings, LLC                 FOXO Life, LLC (f/k/a youSurance General
Beneficient Capital Markets, LLC                     Agency, LLC)
Beneficient Company Holdings LLC                  FOXO Technologies Inc. (f/k/a FOX
Beneficient Company Holdings, LP                     BioScience LLC)
Beneficient Management Holdings LP                Innovation Capital Solutions, L.L.C.
Beneficient Fiduciary Financial, L.L.C.           James E. Turvey
                                                  Jon R. Sabes

                                              6
       Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 20 of 26




Steven F. Sabes                                                 PEN Indemnity Management LLC
John A. Stahl                                                   PEN Insurance Management Advisors, Ltd.
Life Epigenetics, Inc.                                          Piper Sandler & Co.
MHT Financial, L.L.C.                                           Private Equity National Indemnity Holdings
Mike McGill                                                        LP
Moelis & Company                                                Roger Watson
Murray T. Holland                                               Scientific Testing Partners, LLC
Nicholas C. Proia                                               Shawn T. Terry
Paul Capital Advisors, L.L.C.                                   The Beneficient Group, LP
Paul Capital Partners VIII-A, L.P.                              The Beneficient Company Group, L.P.
Paul Capital Partners VIII-B, L.P.                              The Beneficient Company Group (USA),
Paul Capital Partners VIII-C, L.P.                                 LLC
Paul Capital Partners VIII Holdings                             The Beneficient Company Group (USA) II,
Paul Capital Town Street Partners, L.P.                            LLC
PEN Indemnity Company, Ltd.                                     Vida Capital

Notice of Appearance Parties, as of June 7, 20221

ANV Global Services, Inc.
Centaurus Financial, Inc.
L Bond Management
Texas Department of Insurance




1   This includes only those parties who filed a notice of appearance and are not listed elsewhere on this Schedule 1.


                                                          7
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 21 of 26




                                           Schedule 2

       Schedule of Searched Parties and/or Certain Related Parties that Akin Gump
            Currently Represents, or Has in the Past Represented, in Matters
                          Unrelated to these Chapter 11 Cases

The Official Committee of Bondholders

Akin Gump formerly represented the following entity in connection with matters related to the
Debtors’ Chapter 11 Cases; Akin Gump no longer represents this entity in an individual capacity
but rather in its capacity as a member of the Official Committee of Bondholders:

Bank of Utah

Professionals of the Official Committee of Bondholders

Akin Gump currently represents the following entity and/or certain related parties of such entity
on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

AlixPartners LLP

Akin Gump has represented in the past the following entities and/or certain related parties of such
entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Piper Sandler & Co.

Debtors

Akin Gump has not represented in the past and currently does not represent these parties.

Non-Debtor Affiliates & Subsidiaries

Akin Gump has not represented in the past and currently does not represent these parties.

Debtors’ Bankruptcy Professionals

Akin Gump currently represents the following entity and/or certain related parties of such entity
on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

FTI Consulting Inc.
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 22 of 26




Banks, Lenders, UCC Lien Parties, Administrative Agents

Akin Gump currently represents the following entities and/or certain related parties of such
entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Bank of New York Mellon                                KKR Credit Advisors (US) LLC
KKR & Co. Inc. (f/k/a Kohlberg Kravis                  KKR Loan Administration Services LLC
  Roberts & Co.)

Akin Gump has represented in the past the following entities and/or certain related parties of
such entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Wells Fargo Bank, N.A.

Akin Gump formerly represented the following entity in connection with matters related to the
Debtors’ Chapter 11 Cases; Akin Gump no longer represents this entity in an individual capacity
but rather in its capacity as a member of the Official Committee of Bondholders:

Bank of Utah

Current Directors

Akin Gump has not represented in the past and currently does not represent these parties.

Current Officers

Akin Gump has not represented in the past and currently does not represent these parties.

Former Directors

Akin Gump has represented in the past the following party on matters wholly unrelated to the
Debtors’ Chapter 11 Cases:

Richard W. Fisher

Former Officers

Akin Gump has not represented in the past and currently does not represent these parties.

Equity Holders (more than 5% equity)

Akin Gump has not represented in the past and currently does not represent these parties.




                                                2
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 23 of 26




Landlords

Akin Gump currently represents the following entity and/or certain related parties of such entity
on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

U.S. Bank, National Association

Litigation Counterparties

Akin Gump has not represented in the past and currently does not represent these parties.

30 Largest Unsecured Creditors

Akin Gump currently represents the following entities and/or certain related parties of such
entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Aon Insurance Managers (Bermuda) Ltd.               Quinn Emanuel Urquhart & Sullivan, LLP
Emerson Equity LLC                                  Toppan Merrill
PricewaterhouseCoopers LLP                          US Bank Corporate Real Estate

Akin Gump has represented in the past the following entity and/or certain related parties of such
entity on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Appleby (Bermuda) Limited

Insurance Providers and Brokers

Akin Gump currently represents the following entities and/or certain related parties of such
entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

ACE American Insurance Company                      Emerson Equity LLC
Allianz Global Risks US Insurance Co.               National Union Fire Ins. Pittsburgh, PA
Beazley Insurance Company, Inc.                     Twin City Fire Insurance Company
Certain Underwriters at Lloyd’s                     Westchester Fire Insurance Company

Professional Service Providers to the Debtors

Akin Gump currently represents the following entities and/or certain related parties of such
entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Aon Insurance Managers (Bermuda) Ltd.               PricewaterhouseCoopers LLP
Appleby (Bermuda) Limited                           Quinn Emanuel Urquhart & Sullivan, LLP
Ernst & Young US LLP




                                                3
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 24 of 26




Akin Gump has represented in the past the following entity and/or certain related parties of such
entity on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

KL Discovery Ontrack, LLC

Additional Vendors and Contract Counterparties

Akin Gump currently represents the following entities and/or certain related parties of such
entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

American Express                                    NASDAQ Stock Market LLC
Appleby (Bermuda) Limited                           Salesforce.com Inc.
AT&T Mobility                                       Time Warner Cable
Comcast Cable Communications                        United Parcel Service Inc.
Management, LLC                                     U.S. Bank Equipment Finance (a division of
Emerson Equity LLC                                    U.S. Bank National Association)

Akin Gump has represented in the past the following entity and/or certain related parties of such
entity on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Cloudreach Inc.

Taxing and Regulatory Authorities

Akin Gump currently represents the following entity and/or certain related parties of such entity
on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Nasdaq, Inc.

Bankruptcy Judges for the Southern District of Texas

Akin Gump has not represented in the past and currently does not represent these parties.

Office of the United States Trustee for the Southern District of Texas

Akin Gump has not represented in the past and currently does not represent these parties.

Counsel to Certain Parties in Interest

Akin Gump currently represents the following entity and/or certain related parties of such entity
on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

White & Case LLP




                                                4
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 25 of 26




Other Potential Parties in Interest

Akin Gump has represented in the past the following entities and/or certain related parties of
such entities on matters wholly unrelated to the Debtors’ Chapter 11 Cases:

Piper Sandler & Co.
Vida Capital

Notice of Appearance Parties, as of June 7, 2022

Akin Gump has not represented in the past and currently does not represent these parties.




                                                5
     Case 22-90032 Document 371-1 Filed in TXSB on 06/08/22 Page 26 of 26




                                        Schedule 3

     Schedule of Searched Parties and/or Related Parties that are Currently Serving,
      or Have in the Past Served, on Informal and/or Official Creditors’ Committees
                               Represented by Akin Gump

Allianz Global Risks US Insurance Co.           KKR Loan Administration Services LLC
Bank of New York Mellon                         National Union Fire Ins Pittsburgh, PA
Computershare Inc.                              U.S. Bank Equipment Finance (a division of
Continental Casualty Company                      U.S. Bank National Association)
Delaware Trust Company                          U.S. Bank, National Association
KKR & Co. Inc. (f/k/a Kohlberg Kravis           US Bank Corporate Real Estate
   Roberts & Co.)                               Wells Fargo Bank, N.A.
KKR Credit Advisors (US) LLC
